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7

8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                     Plaintiff,       ) PRELIMINARY ORDER OF
                                        ) FORFEITURE
13        v.                            )
                                        )
14   PHARY DAVID CHIM,                  )
       aka Saroeung Phary Chim, and     )
15   DAVID RUEM,                        )
                                        )
16                     Defendants.      )
                                        )
17
         Based upon the plea agreements entered into between United
18
     States of America and defendants Phary David Chim akd Saroeung Phary
19
     Chim and David Ruem, it is hereby ORDERED, ADJUDGED AND DECREED as
20
     follows:
21
         1.     Pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. §§ 853,
22
     881(a), 881(a)(6), 28 U.S.C. § 2461(c), 31 U.S.C. §§ 5317, 5317(c)(1),
23
     and 31 U.S.C. § 5317(c)(2), defendant David Ruem’s interest in the
24
     following property shall be condemned and forfeited to the United
25
     States of America, to be disposed of according to law:
26
                a.   $147,900 in U.S. Currency seized from safe deposit box
27                   located at Bank of America branch in Modesto,
                     California, held in the name of Say Eng and Sdey Chim;
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1          b.    $7,500 in U.S. Currency seized from an U.S. Express
                 Mail envelope en route from Lowell, Massachusetts to
2                Modesto, California;
3
           c.    Yugo 59/60 model semi-automatic firearm with serial
4                number K423900, and ammunition located inside magazine;

5          d.    Norinco SKS model semi-automatic firearm with serial
                 number 013018-DB013018;
6
           e.    Savage Arms Mark 2 model semi-automatic firearm with
7                serial number 0461075;

8          f.    Ruger 10/22 model semi-automatic firearm with serial
                 number 24292833;
9
           g.    Winchester 68-22 model firearm with unknown serial
10               number;

11         h.    Norinco 90 model 12-gauge shotgun with serial number
                 0028157;
12
           i.    Sterling Arms CASSI model grease gun style firearm with
13               serial number 586960215SC2626;

14         j.    Phoenix Arms HP22 model firearm with serial number
                 4173214;
15
           k.    Smith & Wesson Air-weight 38 special model firearm with
16               serial number 27050, and ammunition located inside
                 magazine;
17
           l.    Smith & Wesson Air-weight 38 special model firearm with
18               serial number 27050, and ammunition located inside
                 magazine;
19
           m.    Taurus PT 247 pRO model firearm with serial number
20               NZA81494, and ammunition located inside magazine;

21         n.    Gabilondo Llama 9mm firearm with serial number 212778;

22         o.    Phoenix Arms HP22 model firearm with serial number
                 4097953, and ammunition located inside magazine;
23
           p.    Colt Automatic 22 model firearm with serial number
24               38829;

25         q.    Ruger Mark 3 model firearm with serial number 22712865;

26         r.    Springfield Armory xd 9 model firearm with serial
                 number US862231, and ammunition located inside
27               magazine;

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1             s.    Para Ordinance C7-45LDA model firearm with serial
                    number CC1428, and ammunition located inside magazine.
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              t.    Norinco 54-1 model firearm with serial number 5011651;
3
              u.    Smith & Wesson 38+P model firearm with serial number
4                   5001502, and ammunition located inside magazine;
5             v.    Glock 22 model firearm with serial number GVN475, and
                    ammunition located inside magazine;
6
              w.    FNMI 49 model firearm with serial number 517MM10580;
7
              x.    Mach 10 Cobray model upper part with unknown serial
8                   number;
9             y.    Glock 21 pistol with obliterated serial number;
10            z.    Remington 870 shotgun with serial number D693276M;
11            aa.   Apple Desktop SN QP0370SVDNP;
12            bb.   Apple Desktop SN W89133646X1;
13            cc.   Dell Tower 300 SN4HWHZ61;
14            dd.   HP Laptop SN CND8511SGO;
15            ee.   Canon Printer SN GFX80G1; and
16            ff.   A personal money judgment in an amount to be
                    determined by the court at the time of sentencing.
17

18       2.   The above-listed assets constitute property which

19   constitutes, is derived from proceeds traceable to, or are involved

20   in a violation of 21 U.S.C. § 846, 841(a)(1), 841(b)(1)(C), 18 U.S.C.

21   § 371, and 31 U.S.C. § 5324(a)(3).      The money judgment represents an

22   amount that the defendants obtained as a result of the underlying

23   criminal scheme and violations of 21 U.S.C. § 846, 841(a)(1),

24   841(b)(1)(C), 18 U.S.C. § 371, and 31 U.S.C. § 5324(a)(3).

25       3.   Pursuant to Rule 32.2(b), the Attorney General (or a

26   designee) shall be authorized to seize the above-listed property.

27   The aforementioned property shall be seized and held by the

28   Department of the Treasury, Internal Revenue Service Criminal

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1    Investigations, in its secure custody and control.

2        4.   a. Pursuant to 28 U.S.C. § 2461(c) and 31 U.S.C. §

3    5317(c)(1)(B), incorporating 21 U.S.C. § 853(n), and Local Rule 171,

4    the United States shall publish notice of the order of forfeiture.

5    Notice of this Order and notice of the Attorney General’s (or a

6    designee’s) intent to dispose of the property in such manner as the

7    Attorney General may direct shall be posted for at least 30

8    consecutive days on the official internet government forfeiture site

9    www.forfeiture.gov.    The United States may also, to the extent

10   practicable, provide direct written notice to any person known to

11   have alleged an interest in the property that is the subject of the

12   order of forfeiture as a substitute for published notice as to those

13   persons so notified.

14            b. This notice shall state that any person, other than the

15   defendants, asserting a legal interest in the above-listed property,

16   must file a petition with the Court within sixty (60) days from the

17   first day of publication of the Notice of Forfeiture posted on the

18   official government forfeiture site, or within thirty (30) days from

19   receipt of direct written notice, whichever is earlier.

20       5.   If a petition is timely filed, upon adjudication of all

21   third-party interests, if any, this Court will enter a Final Order of

22   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. §§ 853,

23   881(a), 881(a)(6), 28 U.S.C. § 2461(c), 31 U.S.C. §§ 5317,

24   5317(c)(1), and 31 U.S.C. § 5317(c)(2), in which all interests will

25   be addressed.

26       6.   The government, in its discretion, shall conduct discovery,

27   including written discovery, the taking of depositions, and the

28   issuance of subpoenas, in order to identify, locate or dispose of

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1    property subject to forfeiture in accordance with Rule 32.2(b)(3) of

2    the Federal Rules of Criminal Procedure.

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     IT IS SO ORDERED.
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5    Dated: March 12, 2014
                                       SENIOR DISTRICT JUDGE
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                                             5         Preliminary Order of Forfeiture
